56 F.3d 71wNOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.
    Douglas G. HOUSLEY, Plaintiff-Appellant,v.Rodney HAGEMAN; Malcom Harris, Richard Stolitz, Anthony L.White, William Maddox and Charles Lutz,Defendants-Appellees.
    No. 94-15421.
    United States Court of Appeals, Ninth Circuit.
    Submitted May 16, 1995.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    